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CASE NO. 2:14-cv-02057
VIP Products L.L.C.
ys, Jack Daniel's Properties, Inc.

DEFENDANT’S EXHIBIT 193

DATE: IDEN.

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BY:

Deputy Clerk.
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Attorneys for Defendant and Counterclaimant
JACK DANIEL’S PROPERTIES, INC.

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

VIP PRODUCTS, LLC, an Arizona limited Case No. CV 14-02057 PHX DGC

liability company,
ANSWER AND COUNTERCLAIMS
Plaintiff, OF DEFENDANT AND
COUNTERCLAIMANT JACK
v. DANIEL’S PROPERTIES, INC.

JACK DANIEL’S PROPERTIES, INC., a
Delaware corporation,

Defendant.

Defendant and counterclaimant Jack Daniel’s Properties, Inc. (““JDPI’’) answers the

complaint filed by plaintiff VIP Products, LLC (“VIP”) and counterclaims as follows.

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TAMARA H. HOWARD

CERTIFICATE # 50156

ANSWER AND COUNTERCLAIMS

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ANSWER TO COMPLAINT

1. JDPI lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 1 of the Complaint, and on that basis denies those
allegations.

2. JDPI admits the allegations in paragraph 2 of the Complaint.

3, JDPI denies the allegations in paragraph 3 of the Complaint, except JDPI
admits that it is a citizen of a state other than Arizona.

4, JDPI admits the allegations in paragraph 4 of the Complaint.

5. JDPI admits the allegations in paragraph 5 of the Complaint.

6. JDPI admits that VIP purports to demand a trial by jury, but denics that VIP
is entitled to a jury trial on any of its claims for relief.

7. JDPI lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 7 of the Complaint, and on that basis denies those
allegations, except JDPI admits that VIP has marketed and sold certain chew toys for
dogs, including the toy at issue in this action.

8. JDPI lacks knowledge or information sufficient to form a beliefas to the
truth of the allegations in paragraph 8 of the Complaint, and on that basis denies those
allegations, except JDPI admits that VIP has marketed and sold certain chew toys for
dogs, including the toy at issuc in this action, which is identified as being part of a “Silly
Squeakers” line.

9, JDPI lacks knowiedge or information sufficient to form a belief as to the
truth of the allegations in paragraph 9 of the Complaint, and on that basis denies those
allegations,

10.  JDPI denies the allegations in paragraph 10 of the Complaint.

11. JDPI denies the allegations in paragraph 11 of the Complaint, except JDP

admits that it owns various registrations of, or containing, the trademark JACK.

ANSWER AND COUNTERCLAIMS

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DANIEL’S in the United States and that the JACK DANIEL’S trademark has been used
for many years for Tennessee whiskey in the United States.

12. JDPI denies the allegations in paragraph 12 of the Complaint, except JDPI
admits that VIP incorporated elements of the trade dress of Jack Danicl’s Tennessee
whiskey on VIP’s “Bad Spaniels” dog toy, including a label with a black background and
white lettering, and that VIP placed a statement reading “The product and its design
belong to VIP Products. This product is not affiliated with Jack Daniel Distillery.” in
small print at the bottom of a detachable cardboard tag affixed to the Bad Spaniels toy, as
shown in JDPI’s counterclaims below.

13. JDPI lacks knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 13 of the Complaint, and on that basis denies those
allegations, except JDPI admits that it sent VIP a letter dated September 5, 2014
demanding that VIP cease all further sales of the Bad Spaniels toy.

ANSWERING THE SINGLE CLAIM FOR RELIEF

14. JDPI repeats its responses above to the allegations in paragraphs I-13 of the
Complaint in response to the allegations in paragraph {4 of the Complaint.
15. JDPI admits the allegations in paragraph 15 of the Complaint.
16. JDPI denies the allegations in paragraph 16 of the Complaint.
AFFIRMATIVE DEFENSES

I. The Complaint fails to state a claim upon which relief can be granted.

2, VIP has infringed, diluted, and competed unfairly with respect to, JDPI’s
trademarks and trade dress, as more fully afleged in JDPI’s counterclaims below, and
thus comes before the Court with unclean hands and is not entitled to the equitable relicf

of a declaratory judgment.

COUNTERCLAIMS

Counterclaimant JDPI counterclaims as follows:

ANSWER AND COUNTERCLAIMS

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1. These counterclaims arise under §§ 32(1) and 43(a)(1) and (c) of the United
States Trademark Act, 15 U.S.C. §§ 1114 and 1125(a)(1) and (c), and under the statutory
and common law of the State of Arizona. The Court has jurisdiction over the subject
matter of JDPI’s counterclaims under § 39(a) of the United States Trademark Act, 15
U.S.C. § 1121(a), and under 28 U.S.C. §§ 1331 and 1338(a). The Court has jurisdiction
over the subject matter of JDPI’s counterclaims under the law of the State of Arizona
under 28 U.S.C. §§ 1338(b) and 1367.

PARTTES

2, JDPI is the defendant in this action and is a Delaware corporation with its
principal place of business in San Rafael, California.

3. VIP is the plaintiff in this action and has alleged in its Complaint that it is an
Arizona limited liability company with its principal place of business in Phoenix,
Arizona,

JURISDICTION AND VENUE

4, The Court has personal jurisdiction over VIP because it initiated this action
and thus subjected itself to personal jurisdiction in this Court on JDPI’s counterclaims
and because it alleges that it resides in the State of Arizona. Venue is proper in this
Judicial District under 28 U.S.C. § 1391(b)(1) because VIP alleges that it resides tn this
Judicial District.

ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

The Jack Daniel’s Trademarks and Trade Dress

5. JDPI owns and licenses the use of the trademarks and trade dress used in
connection with Jack Danie!’s Tennessee whiskey and other products in the Jack Daniel’s
line. ‘Tennessee whiskey has been sold in the United States under the JACK DANIEL’S
mark continuously since 1875, except during Prohibition, making Jack Daniel’s
Tennessee whiskey one of the oldest, longest-selling, and most iconic consumer products

in American history. In addition to the JACK DANIEL’S trademark, Jack Daniel’s

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‘Tennessee whiskey has borne the OLD NO. 7 trademark since 1875 Gointly the “JDP1
Trademarks”).

6. Since long prior to the commencement of VIP’s acts of infringement,
dilution, and unfair competition complained of herein, and continuously to the present,
Jack Daniel’s Tennessee whiskey has been sold in packaging embodying an iconic trade
dress consisting of a square bottle with a ribbed neck, a black cap, a black neck wrap
closure with white printing bearing the OLD NO. 7 mark, and a black front label with
white printing and a filigreed border bearing the JACK DANIEL’S mark depicted in
arched lettering at the top of the label, the OLD NO. 7 mark contained within a filigreed
oval design in the middle portion of the label beneath the JACK DANIEL’S mark, and
the words Tennessee Sour Mash Whiskey in the lower portion of the label, with the word
“Tennessee” depicted in script (the “Jack Danicl’s Trade Dress”). ‘The Jack Daniel’s

Trade Dress is depicted below:

ANSWER AND COUNTERCLAIMS

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7. JDPI’s predecessors-in-interest and licensees have expended many hundreds
of millions of dollars over many decades advertising and promoting Tennessee whiskey
sold under the JDP] Trademarks and the Jack Daniel’s Trade Dress in the United States.
Such advertising and promotion have taken place in the print and electronic media, over
the Internet, on billboards, on stadium signage, and in a variety of other manners. The
primary print advertising campaign for Jack Daniel’s Tennessee whiskey, which has
prominently featured the Jack Daniel’s Trade Dress, commenced in 1955 and has
continued since then, making the campaign one of the longest continuous consumer
advertising campaigns in American history. Jack Daniel’s Tennessee whiskey featuring
the Jack Daniel’s Trade Dress has also been seen in numerous motion pictures and
tclevision programs viewed by many millions of Americans, and has also received
extensive unsolicited media coverage and public exposure as the unofficial drink of
choice of celebrities such as Frank Sinatra, George Clooney and Keith Richards.

8. IDPI’s predecessors-in-interest and licensees have achieved billions of
dollars in sales of Jack Daniel’s Tennessee whiskey in the United States under the JDP]
Trademarks and in the Jack Daniel’s Trade Dress. Jack Daniel’s Tennessee whiskey is
currently the best-selling whiskey in the United States and the JACK DANIEL’S brand
has consistently been ranked among the world’s most successful and valuable alcoholic
beverage brands.

9. The Jack Daniel’s Trade Dress is inherently distinctive, or acquired
distinctiveness long prior to the commencement of VIP’s acts of infringement, dilution,
and unfair competition complained of herein by virtue of extensive sales and advertising
of Jack Daniel’s Tennessee whiskey featuring the Jack Danicl’s Trade Dress, decades of
consumption by the public of Jack Daniel’s Tennessee whiskey packaged in the Jack
Daniel’s Trade Dress, extensive consumer recognition of the Jack Daniel’s Trade Dress,
and association of the Jack Daniel’s Trade Dress with Jack Daniel’s Tennessee whiskey.

The combination of elements comprising the Jack Daniel’s Trade Dress is non-functional

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ANSWER AND COUNTERCLAIMS

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because it is not essential to the use or purpose of Jack Daniel’s ‘Tennessee whiskey and
does nol affect the cost or quality of the product.

10. The JDPI Trademarks and the Jack Daniel’s Trade Dress are famous for
whiskey in the United States and became famous long prior to the commencement of
VIP’s acts of infringement, dilution, and unfair competition complained of herein.

11. JDPI owns numerous federal registrations of the JOPI Trademarks and the
Jack Daniel’s Trade Dress for whiskey, including United States Trademark Registration
No. 4,106,178 for the three-dimensional configuration of a square shape bottle container

shown below for distilled spirits,

United States Trademark Registration No. 2,789,278 for the mark shown below for

Tennessee sour mash whiskey,

ANSWER AND COUNTERCLAIMS

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United States Trademark Registration No. 1,923,981 for the mark JACK DANIEL’S for
whiskey, United States Trademark Registration No. 582,789 for the stylized mark JACK
DANIEL’S shown below for whiskey,

and United States Trademark Registration No. 42,663 for the stylized mark OLD NO. 7

shown below for whiskies.

Copies of the certificates of registration of these marks and related maintenance
documents are attached hereto as Exhibit 1. These registrations are valid and subsisting
and all but No. 4,106,178 have become incontestable.

12... The JDPI Trademarks and various elements of the Jack Daniel’s Trade
Dress, including the label design depicted below, have been used for many years in
connection with a wide variety of goods in addition to Tennessee whiskey and other

alcoholic beverages.

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JDPI owns United States Trademark Registration No. 4,372,885 for the label design
shown above for decorative magnets, decorative switch plates, and cell phone cases;
United States Trademark Registration No. 4,481,424 for the label design shown above for
ornamental lapel pins, clocks, watches, cuff links, necklaces, and bracelets; United States
Trademark Registration No. 3,055,481 for the label design shown above (without the
words SOUR MASH) for posters; United States Trademark Registration No. 4,478,408
for the label design shown above for umbrellas, luggage, duffel bags, athletic bags,
backpacks, luggage tags, key cases, knapsacks, tote bags, and all-purpose canvas carrying
bags, United States Trademark Registration No. 2,867,158 for the label design shown
above (without the words SOUR MASH) for glass and plastic drinking containcrs,
namely flasks, ceramic mugs, ceramic pitchers, ceramic jugs; sponges for household
purposes, wood coasters, cork coasters, swizzle sticks, bowls, decorative boxes made of
non-precious metal, food containers and thermal insulated containers for food or
beverages, glassware for beverages, and serving trays of non-precious metals; United
States Trademark Registration No. 4,526,056 for the label design shown above for
footwear; headwear including caps, hats, cowboy hats, headbands, straw hats, visors,
bandannas; clothing, namely, aprons, sleeve garters, t-shirts, golf shirts, work shirts,
baseball shirts, woven shirts, shirts, tops, tank tops, sweatshirts, sweatpants, jogging suits,
pants, dresses, skirts, sleep pants, pajamas, robes, shorts, jeans, jackets, coats, beits,
neckties, neckwear, scarves, suspenders, leather jackets, rain suits, vests, parkas, gloves;
United States Trademark Registration No. 4,481,425 for the label design shown above for
belt buckles and clasps for clothing all made of non-precious metal and ornamental
novelty pins; United States Trademark Registration No. 4,354,330 for the label design for
floor mats and rugs; and United States Trademark Registration No. 4,491,564 for the
label design for cigarette lighters not of prectous metals. Copies of the certificates of

registration of these of JDPI’s Trademarks are attached hereto as Exhibit 2. These

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registrations are valid and subsisting and Registrations Nos. 2,867,158 and 3,055,481
have become incontestable.

VIP’S Unlawful Conduct

13. VIP has alleged in its Complaint that it is engaged primarily in the business
of designing, manufacturing, and marketing chew toys for dogs, that it sells various lines
of dog chew toys, and that among those dog chew toys is a toy referred to by the brand
“Bad Spaniels.” The “Bad Spanicls” dog chew toy is depicted below:

14. VIP has admitted in its Complaint that it “designed the ‘Bad Spaniel’s’ label
to incorporate a few elements of the Jack Daniel’s label design,” including “a label with

black background and white lettering,” but the Bad Spaniel’s toy goes far beyond

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incorporating a few elements of the Jack Daniel’s label. The Bad Spaniels toy imitates
the JDPI Trademarks and slavishly copies virtually every element of the Jack Daniel’s
Trade Dress, as the toy embodies the following combination of features: (a) the shape of
a square bottle with a ribbed neck, in almost the exact proportions of a 750 ml. bottle of
Jack Daniel’s Tennessce whiskey and colored to imitate the color of Jack Daniel’s
‘Tennessee whiskey when it is packaged in the bottle; (b) a black “cap” and black neck
wrap “closure” with white printing bearing the stylized mark THE OLD NO. 2; (c)a
front black label with white printing and a filigreed border, bearing the BAD SPANIELS
mark depicted in arched lettering over the mark THE OLD NO. 2 contained within a
filigreed oval design, and the words Tennessee CARPET in the lower portion of the label,
with the word “Tennessee” depicted in script. The toy bears an immediate and striking
resemblance to a bottle of Jack Daniel’s Tennessee whiskey bearing the Jack Daniel’s
‘Trade Dress when the toy is viewed from virtually any vantage point, including those
shown on the pages from VIP’s website attached hereto as Exhibit 3. When viewed from
any significant distance, the toy appears, at least at first glance, actually to be a bottle of
Jack Danicl’s Tennessee whiskey bearing the Jack Daniel’s Trade Dress.

15, VIP has alleged in its Complaint that it has “placed a prominent disclaimer
on the packaging that plainly states: ‘The product and its design belong to VIP products.
This product is not affiliated with Jack Daniel’s’.” The alleged disclaimer language does
not appear on the toy itself, but instead at the very bottom of what appears to be the back
of a two-sided cardboard hangtag, beneath the bar code for the product. The hangtag
mimics the front label portion of the Jack Daniel’s ‘Trade Dress, as it is sized tn almost
the exact proportions of the label and embodies a white-on-black color scheme and a
filigreed border. Depictions of the front and back portions of the hangtag are set forth

below:

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16. Upon information and belief, the alleged disclaimer is not noticed, much less
understood, by the vast majority of purchasers of the toy. On the page from VIP’s
website attached hereto as Exhibit 3, the hangtag is shown as being affixed to the product
when it is sold, but upon information and belief, it is not shown when the Bad Spaniels
toy is displayed on the websites of on-line retailers. Upon information and belief, the
hangtag is immediately detached and discarded after the product is purchased or received,
and, as shown in the page from VIP’s website attached hereto as Exhibit 4, does not
remain affixed to the toy when it is used.

17. VIP has alleged in its Complaint that the Bad Spaniels toy is a “parody”
because it allegedly “include[s] drastic differences from the Jack Daniel’s marks and
label design .. .,” but the toy is not a parody because it does not ridicule, criticize, or
otherwise comment upon, Jack Daniel’s Tennessee whiskey, the business practices of the
producer of Jack Daniel’s Tennessee whiskey, or anything clse. Instead, the toy imitates
the JDPI Trademarks and slavishly copies the Jack Daniel’s Trade Dress to capitalize on

their fame and instant recognizability for VIP’s commercial gain, by drawing attention to

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the toy and enabling it to stand out from the numerous competitive dog toys available in
the marketplace, including the other toys alleged to be in VIP’s line.

18. Regardless of whether the Bad Spaniels toy parodies the JDPI Trademarks
and the Jack Daniel’s Trade Dress, VIP’s use of the Bad Spaniel’s trademark and trade
dress in connection with the sale, offering for sale, distribution, and advertising of the
Bad Spaniels toy is likely to cause initial interest confusion pre-sale, confuston at the
point of sale, and post-sale confusion because prospective purchasers of the toy,
purchasers and users of the toy, and observers of the toy while it is in use, are all likely to
believe mistakenly that it originates with, or is licensed, sponsored or authorized by,
JDPI.

19, VIP’s use of the Bad Spaniels trademark and trade dress is also likely to
dilute the famous JDP! Trademarks and Jack Daniel’s Trade Dress by tarnishment. The
Bad Spaniels toy label bears the language “The Old No. 2 On Your Tennessee Carpet,”
“43% Poo By Vol.,” and “100% Smelly.” These references to a dog defecating and
leaving its stinking excrement on a carpet associate the JDP! Trademarks and the Jack
Daniel’s Trade Dress with gross and disgusting imagery that harms their reputation.

FIRST COUNTERCLAIM FOR RELIEF
(Infringement of Federally-Registered JDPI Trademarks

and Federally-Registered Jack Daniel’s Trade Dress)

20. JDPI repeats and realleges the allegations in preceding paragraphs 1-19 as if
fully set forth herein.

21.  VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid constitutes the use in commerce, on or in connection
with VIP’s goods, of reproductions, copies, or colorable imitations of the federally-

registered JDPI Trademarks and the federally-registered the Jack Daniel’s ‘frade Dress,

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ANSWER AND COUNTERCLAIMS

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which use is likely to cause confusion, to cause mistake, or to deceive, in violation of §
32(1) of the United States Trademark Act, 15 U.S.C. § 1114(1).

22. VIP infringement of JDPI’s federally-registered marks as aforesaid has
caused and is likely to continue to cause substantial injury to the public and to JDPI, and
JDPI is entitled to injunctive relief and its attorneys’ fees and costs under §§ 32, 34, 35,
and 36 of the United States Trademark Act, 15 U.S.C. §§ 1114, 1116, 1117, and 1118.

23.  VIP’s infringement of JDPI’s federally-registered marks as aforesaid has
caused and is likely to continue to cause irreparable harm to JDPI. Unless restrained and
enjoined by this Court, VIP will persist in tts infringement, thereby causing JDPI further
irreparable harm.

24. JDPI has no adequate remedy at law.

SECOND COUNTERCLAIM FOR RELIEF

(Trade Dress Infringement in Violation of Federal Law)

25. JDPI repeats and realleges the allegations in preceding paragraphs 1-24 as if
fully set forth herein.

26.  VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid constitutes infringement of the Jack Daniel’s Trade
Dress through use in commerce, in connection with VIP’s goods, of a combination of
symbols or devices, a false designation or origin, and a false or misleading description of
fact, that is likely to cause confusion, or to cause mistake, or to deceive, as to the origin,
sponsorship, or approval of VIP’s Bad Spaniels toy and commercial activities with or by
JDPI, in violation of § 43(a}(1) of the United States Trademark Act, 15 U.S.C. §
1125(a)(1).

27.  VIP’s infringement of the Jack Daniel’s Trade Dress as aforesaid has caused

and is likely to continue to cause substantial injury to the public and to JDPI, and JDPI is

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entitled to mjunctive relief and its attorneys’ fees and costs under §§ 32, 34, 35, and 36 of
the United States Trademark Act, 15 U.S.C. §§ 1114, 1116, 1117, and 1118.

28.  VIP’s infringement of the Jack Daniel’s Trade Dress as aforesaid has caused
irreparable harm to JDPI. Unless restrained and enjoined by this Court, VIP will persist
in its infringement as aforesaid, thereby causing JDPI further trreparable harm.

29, JDPI has no adequate remedy at law.

THIRD COUNTERCLAIM FOR RELIEF
(Dilution of JDPI Trademarks in Violation of Federal Law)

30. JDPI repeats and realleges the allegations in preceding paragraphs 1-29 as if
fully set forth herein.

31. VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid is likely to cause dilution by tarnishment of the JDPI
Trademarks, which became famous in Arizona and throughout the United States before
VIP commenced its use of the Bad Spaniel’s trademark and trade dress, by eroding the
public’s exclusive identification of the famous JDPI Trademarks with JDPI, tarnishing
and degrading the positive associations and prestigious connotations of the JDP]
Trademarks, and otherwise lessening the capacity of the JDPI Trademarks to identify and
distinguish the goods and services sold under and connection with it, in violation of §
43(c) of the United States Trademark Act, 15 U.S.C. § 1125(c).

32, Upon information and belief, VIP willfully and deliberately intended to trade
on the reputation and goodwill of the JDPI Trademarks, or to cause dilution of the JDP
Trademarks.

33.  VIP’s dilution of the JDPI Trademarks as aforesaid has caused and is likely
to continue to cause substantial injury to JDPI’s goodwill and business reputation, and

dilution of the distinctiveness of the famous JDPI Trademarks, and JDPI is entitled to

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injunctive relief and its attorneys’ fees and costs under §§ 34, 35, 36, and 43(c) of the
United States Trademark Act, 15 U.S.C. §§ 1116, 1117, 1118, and 1125(c).

34.  VIP’s dilution of the JDPI Trademarks as aforesaid has caused and continues
to cause irreparable harm to JDPI. Unless restrained and enjoined by this Court, VIP will
persist in its dilution, thereby causing JDPI further irreparable harm.

35. JDPI has no adequate remedy at law.

FOURTH COUNTERCLAIM FOR RELIEF

(Dilution of Jack Daniel’s Trade Dress in Violation of Federal Law)

36. JDPI repeats and realleges the allegations in preceding paragraphs 1-35 as if
fully set forth herein.

37, VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid is likely to cause dilution by tarnishment of the Jack
Daniel’s Trade Dress, which became famous in Arizona and throughout the United States
before VIP commenced its use of the Bad Spaniel’s trademark and trade dress, by
eroding the public’s exclusive identification of the famous Jack Daniel’s Trade Dress
with JDPI, tarnishing and degrading the positive associations and prestigious
connotations of the Jack Daniel’s Trade Dress, and otherwise lessening the capacity of
the Jack Daniel’s Trade Dress to identify and distinguish the goods and services sold
under and connection with it, in violation of § 43(c) of the United States Trademark Act,
15 U.S.C. § 1125(c).

38. Upon information and belief, VIP willfully and deliberately intended to trade
on the reputation and goodwill of the Jack Daniel’s Trade Dress, or to cause difution of
the Jack Daniel’s Trade Dress.

39.  VIP’s dilution of the Jack Daniel’s Trade Dress as aforesaid has caused and
is likely to continue to cause substantial injury to JDPI’s goodwill and business

reputation, and dilution of the distinctiveness of the famous Jack Daniel’s Trade Dress,

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and JDP! is entitled to injunctive relief and its attorneys’ fees and costs under §§ 34, 35,
36, and 43(c) of the United States Trademark Act, 15 U.S.C. §§ 1116, 1117, 1118, and
1125(c).

40, VIP’s dilution of the Jack Daniel’s Trade Dress as aforesaid has caused and
continues to cause irreparable harm to JDPI. Unless restrained and enjoined by this
Court, VIP will persist in its dilution, thereby causing JDPI further irreparable harm.

41.  JDPI has no adequate remedy at law.

FIFTH COUNTERCLAIM FOR RELIEF

(Trademark Infringement in Violation of Arizona Law)

42.  JDPI repeats and realleges the allegations in preceding paragraphs 1-41 as if
fully set forth herein.

43,  VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid constitutes infringement of the JDPI Trademarks that is
likely to cause mistake and deception in the minds of the public, in violation of A.R.S. §§
44-1451, ef seq.

44. VIP’s trademark infringement as aforesaid has caused irreparable harm to
JDPI. Unless restrained and enjoined by this Court, VIP will persist in its trademark
infringement as aforesaid, thereby causing JDPI further irreparable harm.

45,  JDPI has no adequate remedy at law.

SIXTH COUNTERCLAIM FOR RELIEF

(Common Law Trademark Infringement and Unfair Competition)
46. JDPI repeats and realleges the allegations in preceding paragraphs 1-45 as if
fully set forth herein.
47, VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,

advertisement, promotion, display, shipment, offering for sale, sale, and distribution of

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the Bad Spaniels toy as aforesaid constitutes infringement of the JDPI Trademarks and
unfair competition at common law.

48. VIP’s trademark infringement and unfair competition as aforesaid has
caused irreparable harm to JDP. Unless restrained and enjoined by this Court, VIP will
persist in its trademark infringement and unfair competition as aforesaid, thereby causing
JDPI further irreparable harm.

49.  JDPI has no adequate remedy at law.

SEVENTH COUNTERCLAIM FOR RELIEF

(Common Law Trade Dress Infringement)

50. JDPI repeats and realleges the allegations in preceding paragraphs 1-49 as if
fully set forth herein.

51. VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spanicis toy as aforesaid constitutes infringement of the Jack Daniel’s Trade
Dress at common law.

52. VIP’s trade dress infringement as aforesaid has caused irreparable harm to
JDPI. Unless restrained and enjoined by this Court, VIP will persist in its trade dress
infringement as aforesaid, thereby causing JDP! further irreparable harm.

53. JDPI has no adequate remedy at law.

EIGHTH COUNTERCLAIM FOR RELIEF

(Trademark Dilution in Violation of Arizona Law)
54. JDPI repeats and realleges the allegations in preceding paragraphs 1-53 as if
fully set forth herein.
55, VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertiscment, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid in commerce in Arizona began long after the JDPI

Trademarks became well-known, distinctive, and famous in Arizona and throughout the

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United States, and dilutes the distinctive quality of the JDPI Trademarks, in violation of
A.R.S. § 44-1448.01.

56. Upon information and belief, VIP willfully intended to trade on the
reputation and goodwill associated with the JDPI Trademarks,

57. VIP’s dilution of the JDPI Trademarks as aforesaid has caused irreparable
harm to JDPI. Unless restrained and enjoined by this Court, VIP will persist in its
dilution, thereby causing JDPI further irreparable harm.

58. JDPI has no adequate remedy at law.

NINTH COUNTERCLAIM FOR RELIEF

(Trade Dress Dilution in Violation of Arizona Law)

59. JDPI repeats and realleges the allegations in preceding paragraphs 1-58 as if
fully set forth herein.

60. VIP’s use of the Bad Spaniels trademark and trade dress in the manufacture,
advertisement, promotion, display, shipment, offering for sale, sale, and distribution of
the Bad Spaniels toy as aforesaid in commerce in Arizona began !ong after the Jack
Daniel’s ‘Trade Dress became well-known, distinctive, and famous in Arizona and
throughout the United States, and dilutes the distinctive quality of the Jack Daniel’s
Trade Dress, in violation of A.R.S. § 44-1448.01.

61. Upon information and belief, VIP willfully intended to trade on the
reputation and goodwill associated with the Jack Daniel’s Trade Dress.

62. VIP’s dilution of the Jack Daniel’s Trade Dress as aforesaid has caused
irreparable harm to JDPI. Unless restrained and enjoined by this Court, VIP will persist
in its dilution, thereby causing JDPI further irreparable harm.

63. JDPI has no adequate remedy at law.

PRAYER FOR RELIEF
WHEREFORE, defendant and counterclaimant JDPI prays for judgment as

follows:

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1. That VIP’s declaratory judgment complaint be dismissed with prejudice;

2, That VIP and its officers, agents, servants, employees, and attorneys, and all
other persons in active concert or participation with them, or any of them, who receive
actual notice of the injunctions prayed for herein by personal service or otherwise, be
preliminarily and then permanently restrained and enjoined from:

(a) Manufacturing, advertising, promoting, displaying, shipping, offering for
sale, selling, or distributing the Bad Spaniels dog toy;

(b) Manufacturing, advertising, promoting, displaying, shipping, offering for
sale, selling, or distributing any other dog toy that reproduces, copies, colorably imitates,
or is confusingly similar to, the JDPI Trademarks and/or the Jack Daniel’s Trade Dress;

(c) Manufacturing, advertising, promoting, displaying, shipping, offering for
sale, selling, or distributing any other dog toy that dilutes the distinctiveness of the
famous JDPI Trademarks and/or the Jack Daniel’s Trade Dress; and

(d) Doing any other act or thing that is likely to cause persons to believe that
VIP’s goods or commercial activities originate with, or are licensed, sponsored, or
authorized by, JDPI;

3, That VIP be ordered, pursuant to 15 U.S.C. § 1116, to file with the Court
and to serve on counsel for JDPI, within 30 days after the entry of judgment herein, a
written report under oath setting forth in detail the manner in which it has complied with
the injunction ordered by the Court;

4, That VIP be ordered, pursuant to 15 U.S.C. § 1118 and A.R.S. § 44-
1451(B)(5), to deliver up to the Court for destruction or other disposition all Bad Spaniels
toys, all labels, signs, prints, packages, wrappers, receptacles, and advertisements bearing
the trade dress of the Bad Spaniels toy, and all plates, molds, matrices, and other means
of making the same;

5. That VIP be ordered, pursuant to 15 U.S.C. § 1117{a), to pay to JDPI its

attorneys’ fees and the costs of this action; and

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6. That JDP! be granted such other and further relief as the Court may dcem

just and proper.

Respectfully submitted,
QUARLES & BRADY LLP

Dated: December 3, 2014 By: /s/ Gregory P. Sitrick
Gregory P. Sitrick
Isaac S$, Crum
Attorneys for Defendant and

Counterclaimant
JACK DANIEL’S PROPERTIES, INC,

CERTIFICATE OF SERVICE
I hereby certify that on December 3, 2014, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of

such filing to all counsel of record in this case.

/s/ Gregory P. Sitrick
Gregory P. Sitrick

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